21-11298-lgb   Doc 24-10   Filed 08/19/21 Entered 08/19/21 15:22:12   Exhibit J
                                    Pg 1 of 5




                      EXHIBIT J
21-11298-lgb   Doc 24-10   Filed 08/19/21 Entered 08/19/21 15:22:12   Exhibit J
                                    Pg 2 of 5
21-11298-lgb   Doc 24-10   Filed 08/19/21 Entered 08/19/21 15:22:12   Exhibit J
                                    Pg 3 of 5
21-11298-lgb   Doc 24-10   Filed 08/19/21 Entered 08/19/21 15:22:12   Exhibit J
                                    Pg 4 of 5
21-11298-lgb   Doc 24-10   Filed 08/19/21 Entered 08/19/21 15:22:12   Exhibit J
                                    Pg 5 of 5
